                  Case 1:22-cr-00100-RBW Document 84-1 Filed 02/20/24 Page 1 of 1


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ATTORNEYS AT LAW



                                                                                      February 19, 2024
        VIA FEDERAL EXPRESS
        Honorable Reggie B. Walton
        United States District Court
        For the District of Columbia
        333 Constitution Avenue, NW
        Washington, DC 20001

                 Re:      United States v. Jacob Zerkle, No. 22-cr-100-RBW

        Dear Judge Walton:

                 Enclosed please find a courtesy copy of Defendant Jacob Zerkle’s Sentencing
        Memorandum that was filed with the Court on February 16, 2024 (D.E. 83) in advance of the
        parties’ sentencing hearing, which is currently scheduled for February 22, 2024. Also enclosed is
        a thumb drive containing certain exhibits referenced by the Defendant in his sentencing
        memorandum and itemized as: Gov. Exs. 409 (video), 410 (video), 412 (screen shot), 414 (video)
        and video exhibit titled, “Stop Hate,” (also publicly available at the following link).
        https://ia802303.us.archive.org/33/items/sNaSX3PGrfyzB9Bws/sNaSX3PGrfyzB9Bws.mpeg4,
        last visited February 19, 2024.

                                                           Respectfully,

                                                           Christopher Macchiaroli
                                                           Emma Mulford

                                                           Counsel for Jacob Zerkle

        cc:      Government counsel (via CM/ECF)
